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                      UNITED STATES DISTRICT COURT
                                          for the
                              Western District of Kentucky
                                    Louisville Division

   Melissa Summers                               )
          Plaintiff                              )
                                                 )
   v.                                            )       Case No.       3-12-cv-543-S
                                                 )
   Central Portfolio Control, Inc.               )
           Defendant                             )
                                                 )

                                     NOTICE OF SETTLEMENT

          Please take notice that the parties have reached a settlement of all matters in this

   case. Once the settlement agreement has been signed by both and finalized, the parties

   will tender an Agreed Order of Dismissal.




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                                    Certificate of Service

           I hereby certify that I have served a copy of the foregoing document by Notice of
   Electronic Filing, or, if the party served does not participate in Notice of Electronic
   Filing, by U.S. First Class Mail, hand delivery, fax or email on this the 28th day of
   Novemenber, 2012:

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